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            UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK

Mohamed John Akhtar and
La Buca Restaurant, Inc. d/b/a
Swing 46 Jazz and Supper Club,

       Plaintiffs,

                V.

                                           Case No. 23-cv-6585 (JGLC)(VF)
Eric Adams, Mayor of the City of
New York, Rohit T. Aggarwala, New
York City Department of
Environmental Protection, Eric I.
Eisenberg, and John and Jane
Does One through Thirty,

       Defendants.




                     Declaration of Michelle Collier

      I, Michelle Collier, of full age declare and affirm, under the penalty of

perjury, to the truth of the following.

   1. I am a resident of the City ofNew York and I have been an entertainer at La

Buca Restaurant, Inc., d/b/a Swing 46 Jazz and Supper Club (hereinafter "Swing

46") for the past ten years. I am aware of the challenges Swing 46 and its owner,

Mohammed Akhtar, (also known as John), are facing.

   2. In addition to entertaining as a singer, I help out at the club with various
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    I d�darc under penalty of perjury mider the 1::,ws of the United States o.l.America

 that the foregoing is trne and correct.



       Dated:    March 20, 2025
